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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

DROPBOX, INC.,

                     Plaintiff / Counterclaim
                     Defendant,                  Civil Action No. 6:20-cv-00251-ADA

       v.

MOTION OFFENSE, LLC,

                     Defendant / Counterclaim
                     Plaintiff.


MOTION OFFENSE, LLC,

                     Plaintiff.
                                                 Civil Action No. 6:21-cv-00758-ADA
v.

DROPBOX, INC.,

                    Defendant.


     JOINT MOTION FOR ENTRY OF FOURTH AMENDED SCHEDULING ORDER

       Pursuant to the Court’s July 6, 2022 guidance, Dropbox, Inc. (“Dropbox”) and Motion

Offense LLC (“Motion Offense”) hereby submit this Joint Motion for Entry of Fifth Amended

Scheduling Order attached as Exhibit A.
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Dated: September 6, 2022

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                                 CERTIFICATE OF SERVICE

        I hereby certify that all counsel of record are being served with a copy of the foregoing

document via the Court’s CM/ECF system per Local Civil Rule CV-5(b)(1) on September 6,

2022.

                                              /s/Timothy Devlin
                                                 Timothy Devlin
